        Case 1:23-cr-00071-RDM Document 67-1 Filed 04/25/24 Page 1 of 3



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :       CASE NO. 23-CR-71 (RDM)
               v.                            :
BRYAN SHAWN SMITH,                           :
                                             :
                      Defendant.             :



 DECLARATION OF EMILY LAMBERT IN SUPPORT OF DEFENDANT’S MOTION
                         TO CONTINUE

I, Emily Lambert, on behalf of Defendants, affirm under penalty of perjury that:

   1. I am a Paralegal and Case Director on the defense team of Bryan Smith. My purpose is to

       assist with the preparation and defense of this defendant in his criminal proceedings.

       Since the beginning of our contact with Mr. Smith, I have been the main individual

       reviewing the discovery in this case, as well as the sole person in this firm with a

       computer capable of handling the vast technological tasks required for trial. I have

       extensive experience in similar criminal cases regarding this subject matter. I have

       personal knowledge of the facts set forth herein.
    Case 1:23-cr-00071-RDM Document 67-1 Filed 04/25/24 Page 2 of 3



2. On 4-15-2024, while I was in D.C. preparing for this trial, I was informed

   that my house burnt down.

3. This was my sole permanent residence, as well as the residence of my three children.
4. The cause of the fire was undetermined, and it was a complete and total loss.
5. This was also the residence that I stored and maintained many of the physical documents
   and files of John Pierce Law P.C.

6. This incident required me to make the 12 hour drive from D.C. to my home town to

   meet with insurance adjusters, fire investigators, and handle multiple other personal

   matters that required my physical presence.


7. Everything in my home was lost, with nothing being salvageable, including multiple

   back up laptops, hard drives containing discovery, exhibits, and data & research that I

   have done preparing for these cases.


8. As of now I am unsure how much of this data was backed up elsewhere.


9. This significant event has greatly affected my ability to continue to prepare for trial, as I

   am a single mother of three young children, and am currently having to work out of

   hotels with only what I didn’t lose in the fire.


10. I am most familiar with all aspects of the areas of the Capitol and timeline of events of

   that day relating to Mr. Smith, and my current crisis has significantly affected my ability

   to properly prep and prepare him for trial, given the limited amount of time we have had

   to do so since our appearance.

11. I declare under penalty of perjury that the foregoing is true and correct.
        Case 1:23-cr-00071-RDM Document 67-1 Filed 04/25/24 Page 3 of 3




Dated: January 28, 2022                   _/s/ Emily Lambert

                                          Emily Lambert
